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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HOLT HEALTHCARE MANAGEMENT                           )
SERVICES, INC.,                                      )
on behalf of plaintiff and                           )
the class members defined herein,                    )
                                                     )
               Plaintiff,                            )      16 C 7281
                                                     )      Hon. Thomas M. Durkin
               v.                                    )
                                                     )
INTELLICURE, INC., d/b/a US WOUND                    )
REGISTRY and US PODIATRY REGISTRY;                   )
CHRONIC DISEASE REGISTRY, INC.;                      )
and JOHN DOES 1-10,                                  )
                                                     )
               Defendants.                           )

                                 STIPULATION TO DISMISS

        Plaintiff Holt Healthcare Management Services, Inc. and Defendants Intellicure, Inc., d/b/a
US Wound Registry and US Podiatry Registry; Chronic Disease Registry, Inc (“Defendants”) by
and through their respective attorneys and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby
stipulate to the dismissal of Plaintiff Holt Healthcare Management Services, Inc.’s individual
claims against Defendants with prejudice and without costs. Plaintiff Holt Healthcare Management
Services, Inc.’s class claims against Defendants are dismissed without prejudice and without costs.
Plaintiff’s claims against John Does 1-10 are dismissed without prejudice and without costs. This
stipulation of dismissal disposes of the entire action.


Dated: February 10, 2017


Respectfully submitted,


HOLT HEALTHCARE MANAGEMENT                           INTELLICURE, INC., d/b/a U.S. WOUND
MANAGEMENT SERVICES, INC.                            REGISTRY and U.S. PODIATRY
                                                     REGISTRY; CHRONIC DISEASE
                                                     REGISTRY, INC.


/s/Daniel A. Edelman                                 /s/Jena M. Valdetero
Daniel A. Edelman                                    Jena M. Valdetero
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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that on February 10, 2017, she caused the foregoing document

to be electronically filed with the Clerk of the United States District for the Northern District of

Illinois by filing through the CM/ECF system, which shall cause service via electronic mail upon

all counsel of record.




                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark



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